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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )     Case No. 15 CR 515-1
      v.                                    )
                                            )     Judge John Z. Lee
ALBERT ROSSINI,                             )
                                            )
            Defendant.                      )

                                    ORDER

      A jury convicted Albert Rossini of multiple counts of mail fraud and wire

fraud on June 14, 2018. After delays occasioned by Rossini’s post-trial motions

and the COVID-19 pandemic, Rossini is currently set to be sentenced on July 1,

2021—over three years after the conclusion of his trial. On May 11, 2020, Rossini

submitted a letter complaining about his current appointed counsel, which the

Court construes as a motion for the appointment of new counsel. See ECF No. 691.

And on June 8, 2021, Rossini filed a motion to continue the sentencing in light of

his dissatisfaction with his attorney. See ECF No. 693. For the following reasons,

Rossini’s motions are denied.

                                 STATEMENT

      In August 2015, a grand jury returned an indictment against Rossini and

others alleging the operation of a Ponzi scheme that defrauded investors of

millions of dollars and charging numerous counts of mail fraud and wire fraud in

violation of 18 U.S.C. §§ 1341 and 1343. See ECF No. 1. Rossini’s initial retained
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attorneys filed a motion to withdraw due to “irreconcilable differences” and “an

unreasonable financial burden.” See ECF No. 125. Ultimately, those attorneys

were disqualified by the Court due to a conflict of interest, and the Court appointed

new counsel See ECF No. 160.

      Rossini was then represented by a series of four court-appointed attorneys,

all of whom moved to withdraw due to difficulties they had in their relationship

with Rossini. See ECF Nos. 163, 227, 246, 268, 362, 386, 573, 655. Attorney Keri

Ambrosio was appointed on May 24, 2016, and she moved to withdraw on March

9, 2017, because their “attorney client relationship . . . deteriorated, and there

[was] profound disagreement regarding the means to resolution of the case.” See

Mot. Withdraw, ECF No. 227. Attorney Joshua B. Adams was appointed next, and

Attorney Scott Frankel was appointed as his co-counsel shortly thereafter. See

ECF Nos. 246, 268.       Although Rossini filed a letter dated May 31, 2018,

complaining about his attorneys, the Court found no legitimate basis to appoint

new attorneys for him, and Rossini’s trial began as scheduled on June 4, 2018,

with Adams and Frankel continuing their representation. See ECF Nos. 334, 337.

      After Rossini was convicted on June 14, 2018, Adams and Frankel moved to

withdraw in light of Rossini’s renewed complaints and his desire to raise an

ineffective-assistance-of-counsel argument in his post-trial motions. See ECF No.

362. The Court granted the motion given the apparent conflict and appointed

Attorney Richard Kling to represent Rossini for post-trial motions and sentencing

on September 12, 2018. See ECF No. 386. The Court considered Rossini’s post-



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trial motion alleging ineffective assistance of counsel and found that Rossini’s

arguments lacked merit. See 1/28/20 Mem. Op. & Order at 8–16, ECF No. 556.

      In February 2020, Rossini sought to replace Kling after his motion for a new

trial was denied, asserting that he disagreed with Attorney Kling about which

arguments to raise in his reply. Kling likewise informed the Court that “there is

an irreconcilable conflict” between him and his client, and “Rossini indicated in no

uncertain terms that he no longer wants me to continue to represent him.” See

Mot. Withdraw, ECF No. 468 (filed July 12, 2019); see also Mot. Withdraw, ECF

No. 573 (filed March 4, 2020) (same).

      The Court initially denied Rossini’s request after making several findings,

including that it was primarily motivated by an intent to delay the proceedings.

The Court based that finding in part on Rossini’s pattern of conduct in the case;

for example, as noted above, Rossini previously sought new counsel on the eve of

trial. And, as the Court found when revoking Rossini’s pretrial release and noted

again when considering Rossini’s credibility in seeking new counsel, Rossini baldly

lied to the Court about travel that he undertook while on pretrial release. Rossini

represented to the Court that he was visiting family in California, but he was

traveling there to engage in the sale of real estate—conduct that formed the basis

for his later fraud convictions and was expressly prohibited by the conditions of

his release.

      After the Court denied his motion for new counsel in February 2020, Rossini

began representing himself pro se in preparation for sentencing. However, after



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the advent of the COVID-19 pandemic, the Metropolitan Correctional Center

where Rossini is detained imposed significant restrictions on inmates’ access to

the law library. When Rossini renewed his motion for new counsel, the request

was granted in light of the changed conditions. The Court recruited Rossini’s fifth

court-appointed attorney, Clarence Butler, Jr., in October of 2020. See 10/7/20

Order, ECF No. 650. When doing so, the Court advised Rossini that this would be

the final attorney that the Court would appoint. The Court also admonished

Rossini that he must do his best to work with Butler. Now, despite the Court’s

explicit directions, Rossini seeks yet another attorney.

      The law is clear that, while indigent criminal defendants are entitled to

competent representation by counsel, they “do[] not have the right to choose [their]

appointed counsel.” United States v. Sinclair, 770 F.3d 1148, 1153 (7th Cir. 2014).

“The Sixth Amendment does not guarantee a friendly and happy attorney-client

relationship.” United States v. Mutuc, 349 F.3d 930, 934 (7th Cir. 2003) (citing

Morris v. Slappy, 461 U.S. 1, 14 (1983)). And the mere dissatisfaction of a client

does not require the appointment of new counsel. See United States v. Cronic, 466

U.S. 648, 657 n.21 (1984) (“[T]he appropriate inquiry” into whether counsel was

effective for purposes of the Sixth Amendment “focuses on the adversarial process,

not on the accused’s relationship with his lawyer as such.         If counsel is a

reasonably effective advocate, he meets constitutional standards irrespective of

his client's evaluation of his performance.”). The Court has found Attorney Butler




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to be a very capable criminal defense attorney in prior cases. Furthermore, the

Court finds no legitimate basis to appoint another attorney in this case.

       And there is likewise no legitimate basis to postpone the sentencing date.

After the Court ruled on Rossini’s post-trial motions in January 2020, his

sentencing was originally set for May 21, 2020. See ECF No. 568. Due to the

COVID-19 pandemic and Rossini’s pro se motion to stay sentencing (which the

Court denied), that date was pushed back to October 13, 2020. See 7/22/20 Minute

Entry, ECF No. 623. After Attorney Butler was appointed in October 2020, the

Court held status hearings in November 2020 and January 2021 to allow Butler

time to review the extensive discovery in this case. See ECF Nos. 660, 669. In

January 2021, after Butler reported that he had reviewed the discovery provided

to him by prior counsel, as well as additional documents provided by Rossini, the

Court scheduled Rossini’s sentencing for April 16, 2021. In March 2020, Attorney

Butler filed a motion for an extension of time in light of his trial schedule and to

give him time to accommodate Rossini’s strategic demands. See ECF No. 679. The

Court granted that motion on March 24, 2021, but it also advised Rossini and his

attorney that this would be the final extension of time to prepare for sentencing.

See ECF No. 683. The Court set the sentencing to occur in July 2021. See ECF

No. 683.1




1       Although the sentencing was originally set for July 6, 2021, the parties agreed to reset
it to July 1, 2021. See ECF No. 689.


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      The laundry list of purported sentencing issues that Rossini outlines in his

motion to continue the sentencing does not support his request when considering

the history of this case. First of all, “[t]he right to effective counsel does not include

the right to compel counsel to raise frivolous arguments or to follow every directive

made by the defendant.” United States v. Boling, No. 08-CR-30004-MJR, 2008 WL

5101994, at *2 (S.D. Ill. Nov. 26, 2008) (citing United States v. Boyd, 86 F.3d 719,

723 (7th Cir.1996) (certain key decisions remain with the defendant, but the

majority of strategic choices are counsel’s to make), cert. denied, 520 U.S. 1231

(1997)).   Moreover, the Court finds that Rossini has repeatedly acted for the

purpose of delaying the progress of his case. This case was charged six years ago.

Rossini was convicted three years ago.          Attorney Butler was appointed eight

months ago. And this sentencing has been scheduled to occur in July for nearly

three months. The sentencing shall proceed as scheduled on July 1, 2021.

      For the foregoing reasons, Rossini’s motions are denied.


IT IS SO ORDERED.                               ENTERED: 6/11/21




                                                __________________________________
                                                JOHN Z. LEE
                                                United States District Judge




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